                 Case 2:22-cr-00204-DAD Document 24 Filed 11/16/22 Page 1 of 2
                                     IN THE UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                               Plaintiff,

                        v.                                CR NO: 2:22-CR-0204 WBS

KEVIN MOECKLY

                              Defendant.

                                  APPLICATION FOR WRIT OF HABEAS CORPUS

           The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                      ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:       Kevin Moeckly
Detained at             Southern Desert Correctional Center
Detainee is:            a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                  charging detainee with: 21 U.S.C. § 846, 841 (a)(1) - Conspiracy to Distribute and
                                                               Possess with Intent to Distribute Methamphetamine, Heroin,
                                                               and Fentanyl;
                                                               18 U.S.C. § 1956(h) – Conspiracy to Commit Money
                                                               Laundering; and
                                                               18 U.S.C. 1956(a) (3 Counts) - Money Laundering.

                 or     b.)      ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:          a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                 or     b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                  is currently being served at the detaining facility

                      Appearance is necessary as soon as practicable in the Eastern District of California.

                        Signature:                               /s/Robert C. Abendroth
                        Printed Name & Phone No:                 AUSA Robert C. Abendorth/916-554-2766
                        Attorney of Record for:                  United States of America
                   Case 2:22-cr-00204-DAD Document 24 Filed 11/16/22 Page 2 of 2
                                             WRIT OF HABEAS CORPUS

                         ☒ Ad Prosequendum                                  ☐ Ad Testificandum

        The above application is granted and the above-named custodian, as well as any Federal Agent for this district, is
hereby ORDERED to produce the named detainee, as soon as practicable and any further proceedings to be had in this
cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.


 Dated:    November 15, 2022
                                                            Honorable Carolyn K. Delaney
                                                            U.S. MAGISTRATE JUDGE
Please provide the following, if known:
 AKA(s) (if                                                                            ☒Male      ☐Female
 Booking or CDC #:      1247067                                                        DOB:       08/08/1964
 Facility Address:      20825 Cold Creek Road                                          Race:
                        Indian Springs, Nevada 89070
 Facility Phone:        (725) 216-6500                                                 FBI#:      205547TA8
 Currently              SOUTHERN DESERT
                        CORRECTIONAL CENTER

                                                RETURN OF SERVICE


 Executed on:
                                                            (signature)
